Case: 23-1839   Document: 00118204524   Page: 1   Date Filed: 10/21/2024   Entry ID: 6675771




                         UNITED STATES COURT OF APPEALS
                              FOR THE FIRST CIRCUIT

                                  NO. 23-1839
       _________________________________________________________________

                                  UNITED STATES,
                                    APPELLEE

                                           v.

                        IAN FREEMAN, f/k/a Ian Bernard,
                          DEFENDANT - APPELLANT
      __________________________________________________________________

             ON APPEAL FROM A JUDGMENT OF THE UNITED STATES
            DISTRICT COURT FOR THE DISTRICT OF NEW HAMPSHIRE
       _________________________________________________________________

                       REPLY BRIEF OF IAN FREEMAN
      __________________________________________________________________

                                                     Richard Guerriero
                                                     1st Circuit Bar ID 1164673
                                                     Oliver Bloom
                                                     1st Circuit Bar ID 1211240
                                                     Lothstein Guerriero, PLLC
                                                     39 Central Square, Suite 202
                                                     Keene, NH 03431
                                                     (603) 352-5000
                                                     richard@nhdefender.com
                                                     oliver@nhdefender.com

                                                     Mark L. Sisti
                                                     1st Circuit Bar ID 37832
                                                     Sisti Law Offices
                                                     387 Dover Road
                                                     Chichester, NH 03258
                                                     (603) 224-4220
                                                     info@sistilawoffices.com
Case: 23-1839       Document: 00118204524                   Page: 2         Date Filed: 10/21/2024               Entry ID: 6675771




                                                TABLE OF CONTENTS

      TABLE OF AUTHORITIES .....................................................................................3
      REPLY REGARDING THE GOVERNMENT’S STATEMENT OF FACTS ........6
      REPLY REGARDING ISSUE NO. 1: THE TRIAL COURT ERRED IN NOT
      GRANTING THE MOTION TO DISMISS COUNTS 1 AND 2 ...........................13
         The Government Contradicts Itself by Insisting that 31 U.S.C. § 5330 Requires
         Registration Without Regard to Any Regulation, But Also Claiming that
         Freeman’s Crime Was Failing to Comply with Regulations Unilaterally Adopted
         by FinCEN. ...........................................................................................................13
         The Government Understates the Role of Exchanges, the Importance of Virtual
         Currency, and the Overall Impact of Virtual Currency on the National and
         World Economies..................................................................................................14
         The Government’s Bostock Argument is Wrong ..................................................17
         The Government’s References to Major Questions Cases Omits How the
         Doctrine Has Shaped the Landscape ...................................................................19
         The Government Wrongly Claims that State Interests Were Not Impacted by
         FinCEN’s Adoption of Regulations Without Congressional Authority. ..............22
         The Government Incorrectly Faults Freeman’s Citations of Authority While
         Making Errors Itself .............................................................................................24
      CONCLUSION ........................................................................................................35
      CERTIFICATE OF COMPLIANCE WITH FRAP RULE 32(a) ...........................36
      CERTIFICATE OF SERVICE ................................................................................36




                                                                  2
Case: 23-1839       Document: 00118204524                  Page: 3         Date Filed: 10/21/2024               Entry ID: 6675771




                                             TABLE OF AUTHORITIES


      Cases

      Alabama Ass’n of Realtors, 594 U.S. 758 (2021)....................................................22

      Am. Council of Life Insurers v. United States DOL, Civil Action No. 4:24-cv-
       00482-O, 2024 U.S. Dist. LEXIS 133158 (N.D. Tex. July 26, 2024) .................20

      Arizona v. Garland, 2024 U.S. Dist. LEXIS 69561 (W.D. La. Apr. 16, 2024) ......21

      Bond v. United States, 572 U.S. 844 (2014) ..................................................... 23, 24

      Bostock v. Clayton County, 590 U.S. 644 (2020) ............................................. 17, 18

      CFTC v. McDonnell, 287 F. Supp. 3d 213 (E.D.N.Y. 2018) ..................................22

      Chamber of Commerce of United States v. Consumer Fin. Prot. Bureau, 691 F.
       Supp. 3d 730 (E.D. Tex. 2023).............................................................................20
      Fed’n of Ams. for Consumer Choice, Inc. v. United States DOL, No. 6:24-cv-163-
        JDK, 2024 U.S. Dist. LEXIS 131589 (E.D. Tex. July 25, 2024) ........................20

      Forest Grove Sch. Dist. v. T.A., 557 U.S. 230 (2009) ............................................29
      In re Rudler, 576 F.3d 37 (1st Cir. 2009) ................................................................28
      Kansas v. United States Dep’t of Educ., No. 24-4041-JWB, 2024 U.S. Dist. LEXIS
       116479 (D. Kan. July 2, 2024) ...................................................................... 18, 20

      Kleiman v. Wright, No. 18-CV-80176, 2018 U.S. Dist. LEXIS 216417 (S.D. Fla.
        Dec. 27, 2018) ......................................................................................................16

      Kovac v. Wray, 660 F. Supp. 3d 555 (N.D. Tex. 2023)..........................................21

      Loper Bright Enters. v. Raimondo, 144 S. Ct. 2244 (2024) ....................................24

      Lorillard v. Pons, 434 U.S. 575 (1978) ..................................................................29

      Louisiana v. EEOC United States Conf. of Cath. Bishops, 705 F. Supp. 3d 643
        (W.D. La. 2024)....................................................................................................19
      Louisiana v. United States Dep’t of Educ., No. 3:24-CV-00563, 2024 U.S. Dist.
                                                                 3
Case: 23-1839        Document: 00118204524                     Page: 4          Date Filed: 10/21/2024                  Entry ID: 6675771




         LEXIS 105645 (W.D. La. June 13, 2024) ............................................................21

      Louisiana v. United States EPA, No. 2:23-CV-00692, 2024 U.S. Dist. LEXIS
        12124 (W.D. La. Jan. 23, 2024) ...........................................................................21

      N.C. Coastal Fisheries Reform Grp. v. Capt. Gaston LLC, 76 F.4th 291 (4th Cir.
        2023) .....................................................................................................................19
      Rumsfeld v. Forum for Acad. & Institutional Rights, Inc., 547 U.S. 47 (2006) .....29

      SEC v. Trendon T. Shavers & Bitcoin Sav. & Trust, 2014 U.S. Dist. LEXIS 194382
        ..............................................................................................................................16

      Stone v. INS, 514 U.S. 386 (1995) ...........................................................................29

      Tex. Bankers Ass’n v. Office of the Comptroller, No. 2:24-CV-025-Z-BR, 2024
        U.S. Dist. LEXIS 57568 (N.D. Tex. Mar. 29, 2024) ..........................................20
      Texas v. Biden, 694 F. Supp. 3d 851 (S.D. Tex. 2023) ...........................................20
      Texas v. Cardona, Civil Action No. 4:23-cv-00604-O, 2024 U.S. Dist. LEXIS
        103452 (N.D. Tex. June 11, 2024) .......................................................................21
      Texas v. NRC, 78 F.4th 827 (5th Cir. 2023) ............................................................19

      United States v. e-Gold No. 05-CR-2497 (D.D.C. 2007) ........................................31
      United States v. e-Gold, 550 F. Supp. 2d 82 (D.D.C. 2008) ...................................30

      United States v. e-Gold, Ltd., No. 07-cr-109-ABJ-ZMF, 2022 U.S. Dist. LEXIS
       32971 (D.D.C. Feb. 16, 2022) ..............................................................................22
      United States v. Faiella, 39 F. Supp. 34 544 (S.D.N.Y. 2014) ...............................28

      United States v. Harmon, No. 19-cr-395 (BAH), 2021 U.S. Dist. LEXIS 73504
       (D.D.C. Apr. 16, 2021) .........................................................................................30

      United States v. Murgio, 209 F. Supp. 3d 698 (S.D.N.Y. 2016) .............................24

      United States v. Singh, 995 F.3d 1069 (9th Cir. 2021) ............................................26

      West Virginia v. EPA, 597 U.S. 697 (2022) ..................................................... 24, 28
      Zietzke v. United States, 426 F. Supp. 3d 758 (W.D. Wash. 2019) .........................17

                                                                      4
Case: 23-1839        Document: 00118204524                   Page: 5         Date Filed: 10/21/2024                Entry ID: 6675771




      Statutes

      18 U.S.C. § 1960 .............................................................................................. passim
      31 U.S.C. § 5330 .............................................................................................. passim

      H.R. 107-250 ..................................................................................................... 25, 26

      NH RSA 399-G:3, VI-a ...........................................................................................23
      Other Authorities

      Andrew P. Scott, U.S. Cong. Rsch. Serv., R46486, Telegraphs, Steamships, and
       Virtual Currency: An Analysis of Money Transmitter Regulation (2020). ..........22

      Antonin Scalia & Bryan Garner, Reading Law: The Interpretation of Legal Texts
       (2012)....................................................................................................................24

      Dan Awrey, Bad Money, 106 Cornell L. Rev. 1, 45-56 (2020) ..............................22
      FIN-2019-G001, Application of FinCEN’s Regulations to Certain Business Models
        Involving Virtual Currencies (Mar. 9, 2019) .......................................................32

      Financial Crimes Enforcement Conference, FinCen (Jan. 13, 2022) ......................32

      Gideon Lewis-Kraus, Has Bitcoin’s Elusive Creator Finally Been Unmasked? New
        Yorker, Oct. 8, 2024 ................................................................................ 14, 15, 16
      Terrorism and Digit. Fin.: How Tech. is Changing the Threat Before H. Subcomm.
        on Intelligence and Counterterrorism, 117 Cong. 25 (2001) (statement of John
        Eisert, Assistant Director, Department of Homeland Security). ................... 16, 17
      The Present and Future Impact of Virtual Currency: Joint Hearing before the
        Subcomm. on Nat’l Sec. and Int’l Trade and Fin. and the Subcomm. on Banking,
        Hous., and Urb. Aff., 113th Cong. 210 (2013) .....................................................34
      U.S. Department of Justice: Office of Public Affairs, Binance and CEO Plead
        Guilty to Federal Charges in $4B Resolution, Nov. 21, 2023 .............................15
      Proposed Legislation and Legislative History

      Pub. L. No. 116-283, 134 Stat. 3388 (2021)............................................................27
      S. Rep. No. 101-460 .......................................................................................... 24, 25

                                                                   5
Case: 23-1839   Document: 00118204524       Page: 6    Date Filed: 10/21/2024      Entry ID: 6675771




          REPLY REGARDING THE GOVERNMENT’S STATEMENT OF FACTS

            The government’s brief presents a description of nine alleged victims and

      their bitcoin transactions. Gov. Br. 10-15, 19.1 The government’s description of the

      victims does not bear on the legal issue of whether Freeman was required to

      register with FinCEN, but it is relevant to the court’s overall view of the case and

      to sentencing, so Freeman responds here.

            The government mischaracterizes the alleged victims and their transactions.

      The alleged victims are presented as motivated by romance or altruism, rather than

      also by financial gain. The government wrongly implies the alleged victims did not

      know the risks of their transactions and were not warned. In addition, the

      government imputes culpability to Freeman when it is not born out by the facts.

      The government repeatedly describes alleged victims as not receiving bitcoin from

      Freeman, wrongly implying that Freeman accepted payment but never provided the

      bitcoin purchased. Moreover, the government incorrectly implies coordination

      between Freeman and the actual scammers. An examination of the record shows

      the inaccuracy of the government’s descriptions.


      1
       References to the record are as follows:
      “Br. #” refers to the page number of Freeman’s opening brief;
      “Gov. Br. #” refers to the page number of the government’s brief;
      “Add. #” refers to the page number of the Addendum to Freeman’s opening brief;
      “App. #” refers to the page number of the Joint Appendix;
      “DE #:#” refers to the docket entry in the district court record and the page number
      of the document.
                                                 6
Case: 23-1839   Document: 00118204524       Page: 7    Date Filed: 10/21/2024    Entry ID: 6675771




            James Rossell was motivated by his own financial interests, so much so that

      he continued to deal with the person scamming him despite warnings from his

      bank. Mr. Rossell thought his supposed romantic interest, Mary Romeo, was due to

      receive a large Malaysian inheritance. App. 1143. He lied on paperwork to claim

      the two were engaged and planning to marry. App. 1144-45. His purpose was to

      help Mary Romeo receive the large inheritance. App. 1142-45. Mr. Rossell

      repeatedly wrote, at his scammer’s direction, that he intended to buy bitcoin from

      Freeman and knew the transactions were non-refundable. App. 1148-51. Even after

      Mr. Rossell’s bank flagged one of his transfers because “they didn’t think it was

      legitimate,” he continued. App. 1151.

            Patrick Brown may well have been a “money mule.”2 He was receiving

      suspicious deposits into his bank accounts prior to transacting with Freeman.

      DE:373:24. Freeman had “an extensive conversation” with Patrick Brown, who

      lied to Freeman and said there was no third party involved in his transactions, that

      he was not being coerced, and that he was buying bitcoin for investment purposes.



      2
        The government understates what money mules do (Gov. Br. 13, n. 3). As the
      FBI explains, “Acting as a money mule is illegal and punishable, even if you aren’t
      aware you’re committing a crime. If you are a money mule, you could be
      prosecuted and incarcerated as part of a criminal money laundering conspiracy.
      Some of the federal charges you could face include mail fraud, wire fraud, bank
      fraud, money laundering, and aggravated identity theft.” https://www.fbi.gov/how-
      we-can-help-you/scams-and-safety/common-frauds-and-scams/money-mules

                                                7
Case: 23-1839   Document: 00118204524      Page: 8    Date Filed: 10/21/2024    Entry ID: 6675771




      App. 1932-33, 1935. And when law enforcement got involved in Patrick Brown’s

      case, Mr. Freeman “provided every bit of evidence that [he] could possibly

      provide” to assist with the investigation. App. 1935.

            The government correctly acknowledges that Harold Jones’s scammer,

      Natasha, “asked Jones for money to hire a lawyer and to pay taxes on an

      inheritance.” Gov. Br. 12. The government fails to note that Jones expected a

      reward for his assistance. He was to receive a five percent cut of Natasha’s $100

      million inheritance. App. 1203. He was not motivated by love or altruism. He

      considered the transaction to be a “business dealing or investment.” App. 1203;

      DE:373:16. The government writes that “Jones never received the bitcoin that he

      had purportedly purchased,” Gov. Br. 13, but as he testified, his purchases were on

      behalf of a third party, Raymond Miller, the fictitious lawyer for Natasha. App.

      1208-14. Lastly, Mr. Jones’s banks told him he was being defrauded, but he

      continued to send money. App. 1205-06. He had sent large sums of money to other

      people both prior to and after interacting with Freeman. DE:373:15.

            Karla Cino was someone for whom the government never sought restitution.

      DE:365:Ex. 1. That’s likely because, as the government’s own timeline of events

      indicates, she was years into a relationship with her scammer before interacting

      with Freeman, and the only money she sent to Freeman was money that her

      scammer had deposited in her account. Gov. Br. 13; App. 1298-1305. At all times


                                               8
Case: 23-1839   Document: 00118204524        Page: 9    Date Filed: 10/21/2024     Entry ID: 6675771




      when she was interacting with Freeman, she was a “money mule,” lying to her

      banks and lying to Freeman. App. 1307-18, 1327-28. Ms. Cino’s banks, realizing

      that she was a “money mule,” closed her accounts, yet she persisted in sending

      Freeman money. App. 1305-06.

            Danella Varel was a “certified financial planner” who nonetheless thought it

      wise to send three-quarters of a million dollars to repair an oil rig on behalf of a

      man she had never met and writing, by hand, “I certify that I am buying

      bitcoins…on behalf of Rebecca Viar.” App. 1468, 1475-80. This occurred after her

      scammer had stood her up when she flew to meet him and after he disclaimed

      knowledge of the roses sent to her. App. 1471-72. She never asked questions about

      why the transactions were “on behalf of Rebecca Viar.” App. 1489. She even

      spoke to Freeman, who asked her a series of questions and confirmed that she

      wanted to send the money. App. 1481-82, 2064.

            Rebecca Ault had already been sending money to her scammer, through

      other people, prior to interacting with Freeman, and the majority was not sent

      through Freeman. App. 1583-84, 1595. She too repeatedly wrote out, by hand, that

      she understood she was buying bitcoin and that the transactions were non-

      refundable. App. 1586-90. She even spoke with Freeman, who asked if she had

      authorized the transfer, and she said yes. App. 1591, 1600. In addition, her bank




                                                 9
Case: 23-1839   Document: 00118204524       Page: 10     Date Filed: 10/21/2024    Entry ID: 6675771




       questioned her about the transfers, and she told the banks she authorized them.

       App. 1599.

             Likewise, the government never sought restitution for Nancy Triestram

       because “it could not tie her losses to the funds she sent to Freeman.” DE:365:Ex.

       1:7. The only bitcoin she attempted to purchase from Freeman was when she was

       acting as a “money mule” for her scammer. Gov. Br. 15; App. 1645-46, 1661. She

       too wrote out by hand that she certified she wanted to buy bitcoins from Freeman

       and knew the transactions were non-refundable. App. 1646-47. Freeman even

       requested she make corrections when there were problems with her identification

       photographs. App. 1648. Ms. Triestram testified that Freeman called her to confirm

       that she wanted to buy bitcoin on behalf of a third party, she said “yes,” and he was

       the only person who wanted to confirm what she was doing. App. 1665.

             Beyond those seven alleged victims, the government also described a

       transaction involving “Jessica Alewine and Bruce Blamire” [sic]. Gov. Br. 19. But

       as the government acknowledged in its filings regarding restitution, “Freeman may

       not have had direct knowledge of [their] victimization.” DE:365:Ex. 1:23. See also

       DE:365:3 (describing individuals “for whom the government cannot prove

       Freeman’s knowledge of the scam”). More importantly, and as Freeman has

       already detailed in his filing, Mr. Blemire pleaded guilty to false swearing,

       sexually abused his step-daughter, was a “money mule,” and was someone who


                                                10
Case: 23-1839   Document: 00118204524        Page: 11    Date Filed: 10/21/2024      Entry ID: 6675771




       FinCEN had already concluded did not lose any money, specifically the $16,100

       deposit the government highlights. DE:373:33-34; Gov. Br. 19.

             As to all of the foregoing, the government fails to put these bitcoin

       purchasers into the proper context of Freeman’s overall activities. The government

       attempts to make hay of its interviews with 30-40 individuals who claim that

       another person had directed them to send money to Freeman, Gov. Br. 15, but the

       government fails to present that number in the context of Freeman’s overall

       volume of trades, approximately 6,000 on LocalBitcoins alone. App. 1942.

       Freeman received “very few” complaints, estimated to be “less than a percentage

       of a percent” of his overall transactions. App. 1943-44. His LocalBitcoins feedback

       was “100 percent positive” with “five negatives and 14 neutrals” and “almost

       1,400 positives.” App. 2061.

             Similarly, the government wrongly implies that Freeman was coordinating

       his activities with scammers, stating “Freeman transferred bitcoin to the individual

       who had scammed the victim,” “Freeman…sent the bitcoin to the scammers,” and

       “Freeman, who converted [money] to bitcoin and sent it to the scammers.” Gov.

       Br. 3, 9-10. These descriptions are not accurate. Freeman transferred bitcoin to the

       wallet address provided by the purchaser - the government’s alleged victim.

       Freeman had no idea who controlled the wallet; as the government acknowledges

       in its brief, “the wallet carries only a generic identifier” and the “blockchain does


                                                 11
Case: 23-1839   Document: 00118204524       Page: 12    Date Filed: 10/21/2024   Entry ID: 6675771




       not contain the wallet user’s name, address, social security number, or other

       identification information.” Gov. Br. 4.




                                                  12
Case: 23-1839     Document: 00118204524     Page: 13    Date Filed: 10/21/2024     Entry ID: 6675771




       REPLY REGARDING ISSUE NO. 1: THE TRIAL COURT ERRED IN NOT
       GRANTING THE MOTION TO DISMISS COUNTS 1 AND 2.

       The Government Contradicts Itself by Insisting that 31 U.S.C. § 5330 Requires
       Registration Without Regard to Any Regulation, But Also Claiming that Freeman’s
       Crime Was Failing to Comply with Regulations Unilaterally Adopted by FinCEN.

               The government claims any duty to register existed independent of

       FinCEN’s regulations. Gov. Br. 30-31. The government is wrong.

               The government’s brief cites trial testimony by Theodore Vlahakis, a senior

       compliance officer at FinCEN. See, e.g., Gov. Br. 8, 24. Yet, Vlahakis testified that

       the crime was for failing to comply with FinCEN’s regulations. He said that

       FinCEN requires those who sell bitcoin to register as money transmitters

       “[b]ecause FinCEN has guidance that explicitly states” that. App. 544. See also

       App. 547, 549, 568-69. He described the 2013 guidance that “laid out the

       compliance obligations for users of virtual currency, exchanges of virtual currency,

       and administrators of virtual currency.” App. 546. He explicitly linked the letter

       that FinCEN had sent to one of Freeman’s businesses to that very guidance. App.

       568-74. Vlahakis testified that registration requires FinCEN Form 107. App. 549-

       50. And that form has multiple references to the implementing regulations.3 And

       that form was how FinCEN determined if Freeman had registered. App. 575.

       Similarly, Vlahakis testified about FinCEN’s e-filing system, App. 570, which,



       3
           https://www.irs.gov/pub/irs-tege/fin107_msbreg.pdf
                                                13
Case: 23-1839     Document: 00118204524      Page: 14     Date Filed: 10/21/2024    Entry ID: 6675771




       expressly states that compliance with FinCEN’s regulations is necessary to comply

       with the statute: “[r]egulations implementing Title II of the [Bank Secrecy Act]

       appear at 31 CFR chapter X,” and that “information collected on the reports is

       required to be provided pursuant to Title 31 U.S.C., as implemented by FinCEN

       regulations found throughout 31 CFR chapter X.” (emphasis added).4 The

       government is simply wrong to conclude that anyone could register as a money-

       transmitter by any means other than the regulations unilaterally adopted by

       FinCEN without authorization from Congress.


       The Government Understates the Role of Exchanges, the Importance of Virtual
       Currency, and the Overall Impact of Virtual Currency on the National and World
       Economies.

               In denying the applicability of the major questions doctrine, the government

       downplays both the scale of virtual currency and the significance of the

       Department of Treasury’s unilateral assertion of regulatory authority. Gov. Br. 41-

       42.

               First, virtual currencies are a significant sector of the economy. As one

       recent news story explained, bitcoin is “the world’s tenth most valuable asset” and

       its “market capitalization, about $1.2 trillion, ranks between those of Meta and

       Berkshire Hathaway.” Gideon Lewis-Kraus, Has Bitcoin’s Elusive Creator Finally



       4
           https://www.gpo.gov/fdsys/pkg/FR-2012-02-29/pdf/2012-4756.pdf
                                                  14
Case: 23-1839   Document: 00118204524        Page: 15    Date Filed: 10/21/2024     Entry ID: 6675771




       Been Unmasked? New Yorker, Oct. 8, 2024.5 Specifically regarding

       cryptocurrency exchanges, in the Binance case, the government touted a virtual

       currency exchange’s guilty plea to money laundering and unlicensed money

       transmitting charges, pointing out how “U.S. consumers…conducted trillions of

       dollars in transactions on the platform, generating over $1.6 billion in profit” for

       the exchange. U.S. Department of Justice: Office of Public Affairs, Binance and

       CEO Plead Guilty to Federal Charges in $4B Resolution, Nov. 21, 2023.6

             Likewise, the government highlights the district court’s assertion that “the

       agency sought…to register only the ‘fraction of market participants who are in the

       business of transmitting virtual currencies and not already registered.’” Gov. Br. 39

       (quoting App. 2291). This is incorrect for two reasons. First, the fact that some

       companies have already complied with FinCEN’s unilateral power grab does not

       undercut Freeman’s argument that FinCEN lacked congressional authorization for

       that move or that there were significant compliance costs associated with

       registration. The government itself noted how the registration requirements applied

       to both small businesses and bitcoin exchanges. Gov. Br. 39.




       5
         https://www.newyorker.com/tech/annals-of-technology/has-bitcoins-elusive-
       creator-finally-been-unmasked
       6
         https://www.justice.gov/opa/pr/binance-and-ceo-plead-guilty-federal-charges-4b-
       resolution
                                                 15
Case: 23-1839   Document: 00118204524       Page: 16     Date Filed: 10/21/2024    Entry ID: 6675771




             Second, the government understates the role exchanges play in the

       circulation and adoption of virtual currency. According to one federal court, there

       “are two methods of acquiring bitcoins. The first is simply receiving bitcoins from

       someone. The second way one can acquire a bitcoin is by ‘mining’ them.” Kleiman

       v. Wright, No. 18-CV-80176, 2018 U.S. Dist. LEXIS 216417, at *3-4 (S.D. Fla.

       Dec. 27, 2018). See also SEC v. Trendon T. Shavers & Bitcoin Sav. & Trust, 2014

       U.S. Dist. LEXIS 194382, *16 n.4 (describing three ways to obtain bitcoin:

       mining, purchasing, or selling something and accepting payment in bitcoin).

       Because virtual currencies lack a central authority (like a central bank) for creation

       and distribution, the only way to obtain virtual currencies besides “mining,” is to

       purchase or trade with someone who already has them, whether through an

       exchange, a kiosk, or directly via trade. See Gov. Br. 3-4. As one recent news story

       explained, “access to the cryptocurrency more or less depends on exchanges that

       have proved exceedingly vulnerable to both fraud and regulation.” Lewis-Kraus,

       supra. And the government knows this. One official testified before Congress in

       2021 that “[w]henever monetary exchanges are made, a chokepoint is created,”

       before proceeding to discuss FinCEN’s 2013 guidance and how the government

       used that regulatory authority to go after exchanges. Terrorism and Digit. Fin.:

       How Tech. is Changing the Threat Before H. Subcomm. on Intelligence and

       Counterterrorism, 117 Cong. 25, 14 (2001) (statement of John Eisert, Assistant


                                                 16
Case: 23-1839   Document: 00118204524       Page: 17   Date Filed: 10/21/2024    Entry ID: 6675771




       Director, Department of Homeland Security).7 Cf. Zietzke v. United States, 426 F.

       Supp. 3d 758, 762 (W.D. Wash. 2019) (“Although cryptocurrency transactions can

       occur directly between individuals, those transactions are often handled through

       digital currency exchanges.”).

             Freeman made these arguments to the district court, pointing out the

       importance of virtual currencies in the national and world economies, App. 95-99;

       Add. 43-44, and that FinCEN, and its officials, had acknowledged the significance

       of virtual currencies. App. 99-102, 2453-59. The government’s arguments in its

       brief do not refute the Freeman’s point.


       The Government’s Bostock Argument is Wrong.

             The government’s brief suggests the Supreme Court’s decision in Bostock v.

       Clayton County, 590 U.S. 644 (2020) “illustrates” that “Congress’s capacious

       language…plainly covers individuals who sell bitcoin.” Gov. Br. 32-33. This is not

       correct. The Bostock court “proceed[ed] on the assumption that ‘sex’…refer[ed]

       only to biological distinctions between male and female,” Bostock, 590 U.S. at

       655, but nonetheless found discrimination in violation of Title VII because for “an

       employer to discriminate against employees for being homosexual or transgender,

       the employer must intentionally discriminate against individual men and women in


       7
        https://www.congress.gov/117/chrg/CHRG-117hhrg45867/CHRG-
       117hhrg45867.pdf
                                                  17
Case: 23-1839      Document: 00118204524    Page: 18     Date Filed: 10/21/2024     Entry ID: 6675771




       part because of sex.” Id. at 662. The Court relied on a definition of “sex” known

       and understood at the time Title VII was adopted. Id. at 654-56. But here,

       blockchain-based virtual currencies did not exist at the time the anti-money

       laundering laws were passed in 1994 or 2001. In other words, Title VII applies to

       sexual discrimination because sexual differences existed at the time the law was

       passed; 18 U.S.C. § 1960 and 31 U.S.C. § 5330 do not apply to virtual currency

       because virtual currency did not exist—it had not been invented—at the time that

       the law was enacted.

             Furthermore, the “major questions doctrine could not have been raised in

       Bostock because that case involved a claim of individual discrimination under Title

       VII; it was not a challenge to agency action.” Kansas v. United States Dep’t of

       Educ., No. 24-4041-JWB, 2024 U.S. Dist. LEXIS 116479, at *39-40 (D. Kan. July

       2, 2024).

             Third, the Court in Bostock instructs courts to “interpret a statute in accord

       with the ordinary public meaning of its terms at the time of its enactment.”

       Bostock, 590 U.S. at 654 (italics added). It further warns, if “judges could add to,

       remodel, update, or detract from old statutory terms inspired only by extratextual

       sources and our own imaginations, we would risk amending statutes outside the

       legislative process reserved for the people’s representatives” and “we would deny

       the people the right to continue relying on the original meaning of the law they


                                                18
Case: 23-1839      Document: 00118204524    Page: 19    Date Filed: 10/21/2024    Entry ID: 6675771




       have counted on to settle their rights and obligations.” Id. at 644-55 (2020). As

       Freeman has consistently emphasized, whether one looks to when the Bank

       Secrecy Act was amended in 1992, 1994, or 2001, no one could have possibly

       imagined or interpreted the word “funds” to include blockchain based virtual

       currency.


       The Government’s References to Major Questions Cases Omits How the Doctrine
       Has Shaped the Landscape.

             Contrary to the government’s assertions that there is some monetary

       threshold for the major questions doctrine to apply or that the major questions

       doctrine is applicable only to certain areas, Gov. Br. 40-42, numerous federal

       courts have invoked the doctrine in a wide variety of areas, including nuclear waste

       disposal, Texas v. NRC, 78 F.4th 827, 844 (5th Cir. 2023) (holding that nuclear

       waste disposal “is an issue of great economic and political significance” and that

       the Atomic Energy Act did not confer on the NRC authority to license private

       parties to store the waste) (quotation omitted); fisheries bycatch, N.C. Coastal

       Fisheries Reform Grp. v. Capt. Gaston LLC, 76 F.4th 291, 296-302 (4th Cir. 2023)

       (“whether returning bycatch qualifies as a ‘discharge’ of a ‘pollutant’ under the

       [Clean Water] Act is a major question”); abortion, Louisiana v. EEOC United

       States Conf. of Cath. Bishops, 705 F. Supp. 3d 643, 659 (W.D. La. 2024) (holding

       that the “EEOC’s use of its regulatory power to insert the issue of abortion into a


                                                19
Case: 23-1839   Document: 00118204524       Page: 20     Date Filed: 10/21/2024    Entry ID: 6675771




       law designed to ensure healthy pregnancies for America’s working mothers

       squarely implicates the ‘major questions doctrine’”); the Labor Department’s

       definition of a fiduciary, Fed’n of Ams. for Consumer Choice, Inc. v. United States

       DOL, No. 6:24-cv-163-JDK, 2024 U.S. Dist. LEXIS 131589, at *39 (E.D. Tex.

       July 25, 2024) (finding that the Department of Labor’s new rule redefining the

       term “fiduciary” violates the major questions doctrine); Am. Council of Life

       Insurers v. United States DOL, Civil Action No. 4:24-cv-00482-O, 2024 U.S. Dist.

       LEXIS 133158, at *10 n.6 (N.D. Tex. July 26, 2024) (same); federal banking

       agencies’ regulations, Tex. Bankers Ass’n v. Office of the Comptroller, No. 2:24-

       CV-025-Z-BR, 2024 U.S. Dist. LEXIS 57568, at *22-23 (N.D. Tex. Mar. 29,

       2024) (holding that changes to the Community Reinvestment Act implicate the

       major questions doctrine); the CFPB’s efforts to fight discrimination, Chamber of

       Commerce of United States v. Consumer Fin. Prot. Bureau, 691 F. Supp. 3d 730,

       740 (E.D. Tex. 2023) (“The choice whether the CFPB has authority to police the

       financial-services industry for discrimination against any group that the agency

       deems protected, or for lack of introspection about statistical disparities concerning

       any such group, is a question of major economic and political significance”);

       minimum wage rules for federal contractors, Texas v. Biden, 694 F. Supp. 3d 851,

       866-69 (S.D. Tex. 2023); sex and gender identity, Kansas v. United States Dep’t of

       Educ. Supra (holding that the Department of Education’s Final Rule regarding the


                                                20
Case: 23-1839   Document: 00118204524        Page: 21   Date Filed: 10/21/2024    Entry ID: 6675771




       definition of sex discrimination violates the major questions doctrine); Louisiana v.

       United States Dep’t of Educ., No. 3:24-CV-00563, 2024 U.S. Dist. LEXIS 105645,

       at *34-39 (W.D. La. June 13, 2024) (same); Texas v. Cardona, Civil Action No.

       4:23-cv-00604-O, 2024 U.S. Dist. LEXIS 103452, at *104-18 (N.D. Tex. June 11,

       2024) (same); asylum policies, Arizona v. Garland, 2024 U.S. Dist. LEXIS 69561,

       at *23-25 (W.D. La. Apr. 16, 2024) (holding that changes to immigration asylum

       law implicates the major questions doctrine); the EPA’s disparate impact

       mandates, Louisiana v. United States EPA, No. 2:23-CV-00692, 2024 U.S. Dist.

       LEXIS 12124, at *80-84 (W.D. La. Jan. 23, 2024); and the TSA terrorist watchlist,

       Kovac v. Wray, 660 F. Supp. 3d 555, 565 (N.D. Tex. 2023) (“the Court concludes

       that the watchlist has vast political significance under the Supreme Court's current

       formulation of the major-questions doctrine”).

             Whether or not these cases are ultimately decided on major questions

       grounds, the point remains that there is no monetary threshold or requirement that

       the regulatory overreach affect tens of millions of Americans before the major

       questions doctrine applies. Gov. Br. 41. But if the cases described above involved

       questions of “vast economic and political significance,” so did FinCEN’s unilateral

       attempt to regulate virtual currencies.




                                                 21
Case: 23-1839    Document: 00118204524       Page: 22     Date Filed: 10/21/2024     Entry ID: 6675771




       The Government Wrongly Claims that State Interests Were Not Impacted by
       FinCEN’s Adoption of Regulations Without Congressional Authority.

             The government claims there is no showing that regulation of virtual

       currency “intrudes into an area that is the particular domain of state law.” Gov. Br.

       42 (citation omitted). But as the government must recognize, money transmission

       primarily concerns state law, and thus, FinCEN’s unilateral expansion of its

       authority to capture virtual currencies “intrudes into an area that is the particular

       domain of state law.” Alabama Ass’n of Realtors, 594 U.S. 758, 764 (2021). As the

       Congressional Research Service explains, “[m]oney transmitters are regulated and

       licensed at the state level” and “[a]lthough specific federal laws and regulations

       apply to money transmitters…49 unique state regulatory frameworks determine the

       general oversight and regulation of money transmitters.” Andrew P. Scott, U.S.

       Cong. Rsch. Serv., R46486, Telegraphs, Steamships, and Virtual Currency: An

       Analysis of Money Transmitter Regulation (2020). See also United States v. E-

       Gold, Ltd., No. 07-cr-109-ABJ-ZMF, 2022 U.S. Dist. LEXIS 32971, at *16-17

       (D.D.C. Feb. 16, 2022) (citing same); CFTC v. McDonnell, 287 F. Supp. 3d 213,

       259 (E.D.N.Y. 2018) (quoting a Wall Street Journal article that “money-

       transmission services that operate in the U.S. are primarily state-regulated”). See

       generally Dan Awrey, Bad Money, 106 Cornell L. Rev. 1, 45-56 (2020) (surveying

       state regulations and noting “the bulk of the prudential regulation to which MSBs

       are subject is written, monitored, and enforced at the state level”).
                                                 22
Case: 23-1839    Document: 00118204524       Page: 23     Date Filed: 10/21/2024     Entry ID: 6675771




             In his motion to dismiss, Freeman brought the difference between state and

       federal policy regarding registration of virtual currency sellers to the district

       court’s attention. “In this case, New Hampshire has explicitly exempted sellers of

       virtual currency from money transmission licensing requirements.” App. 101. See

       also Add. 93; NH RSA 399-G:3, VI-a. In addition, as explained during the trial,

       Freeman had been advised by a New Hampshire attorney that he was not required

       to register his business. App. 1634-38. Thus, since this is an area of state regulation

       and since New Hampshire chose not to regulate this specific activity, allowing

       FinCEN to regulate sellers of virtual currency without authority from Congress

       creates a conflict between state and federal policy even though Congress never

       weighed in on the issue.

             As the Supreme Court explained in Bond v. United States, 572 U.S. 844

       (2014), “[b]ecause our constitutional structure leaves local criminal activity

       primarily to the States, we have generally declined to read federal law as intruding

       on that responsibility, unless Congress has clearly indicated that the law should

       have such reach.” Id. at 848. It added that “it is incumbent upon the federal courts

       to be certain of Congress’ intent before finding that federal law overrides the usual

       constitutional balance of federal and state powers.” Id. at 858 (quotations and

       citation omitted). When “ambiguity derives from the improbably broad reach of

       the key statutory definition” and there are “deeply serious consequences of


                                                  23
Case: 23-1839   Document: 00118204524        Page: 24     Date Filed: 10/21/2024    Entry ID: 6675771




       adopting such a boundless reading,” the Court “insist[s] on a clear indication that

       Congress meant to reach” that far and intrude on the delicate federal balance. Id. at

       859-60. See also West Virginia v. EPA, 597 U.S. 697, 744 (2022) (Gorsuch, J.,

       concurring) (“To preserve the ‘proper balance between the States and the Federal

       Government’ and enforce limits on Congress’s Commerce Clause power, courts

       must ‘be certain of Congress’s intent’ before finding that it ‘legislate[d] in areas

       traditionally regulated by the States’”) (citation omitted); Loper Bright Enters. v.

       Raimondo, 144 S. Ct. 2244, 2286 n.5 (2024) (citing Bond for the proposition that

       the “federalism canon tells courts to presume federal statutes do not preempt state

       laws because of the sovereignty States enjoy under the Constitution”); Antonin

       Scalia & Bryan Garner, Reading Law: The Interpretation of Legal Texts 250

       (2012) (the “Presumption Against Federal Preemption” says that a “federal statute

       is presumed to supplement rather than displace state law”).


       The Government Incorrectly Faults Freeman’s Citations of Authority While
       Making Errors Itself.

             The government faults Freeman for “misread[ing] his cited sources.” Gov.

       Br. 35, but it is the government that has its history and sources wrong. So, for

       instance, the government cites to United States v. Murgio, 209 F. Supp. 3d 698,

       708 (S.D.N.Y. 2016) and S. Rep. No. 101-460 for the claim that “Congress

       criminalized the operation of unlicensed money-transmitting businesses in Section


                                                 24
Case: 23-1839   Document: 00118204524        Page: 25     Date Filed: 10/21/2024    Entry ID: 6675771




       1960 to address the fact that money launderers with illicit profits had found new

       avenues of entry into the financial system.” Gov. Br. 28 (quotation and citation

       omitted). But S. Rep. No. 101-460 concerned a bill that never became law.

       Congress did not pass anti-money laundering legislation until 1992. See App. 118.

       Moreover, the quoted language was not what the Senate Report found, but rather

       summarizing testimony by Peter Nunez, an Assistant Secretary of the Treasury for

       Enforcement. See S. Rep. No. 101-460 (“Peter Nunez, the Assistant Secretary of

       the Treasury for Enforcement, testified before the Committee in May that “[i]t is

       undisputed that as Bank Secrecy Act compliance by banks has improved, drug

       money launderers have and will continue to turn to [nonbank financial institutions]

       to convert street currency into monetary instruments and even to transmit abroad

       the proceeds of drug sales.”). The reference to a “gaping hole in the money

       laundering deterrence efforts” also comes from Nunez’s testimony and in that

       instance, his testimony was about the problems that had arisen as a result of state

       versus federal regulation of money transmitting businesses. See id. (“Since the

       Federal government has left regulation of these businesses to the States and the

       States have not devoted sufficient resources to the effort, these industries represent

       a gaping hole in the money laundering deterrence effort.”).

             Similarly, the government cites to H.R. 107-250 to claim that Congress had

       the “explicit intent that the statute cover all informal value transfer banking


                                                 25
Case: 23-1839   Document: 00118204524       Page: 26     Date Filed: 10/21/2024    Entry ID: 6675771




       systems.” Gov. Br. 31 (quotation omitted). However, the “explicit” intent of

       Congress was to “mak[e] explicit that hawala-type8 systems are covered by certain

       statutory requirements.” H.R. 107-250 (2001) at 44. See also id. at 63-64

       (“Although the Committee believes that informal value transfer banking systems

       like hawalas are already adequately covered by references to money transmitting

       businesses in certain provisions of existing law, this section makes that

       understanding explicit.”) (italics added). It strains credulity to imagine that when

       Congress was addressing, in the wake of 9/11, a money transmission system “like

       the ancient South Asian money exchange system called hawala,” id. at 35, that it

       was also predicting the 21st century rise of blockchain-based virtual currency.

             Finally, when the government finally turns to Congress’s 2021 decision to

       authorize regulation of virtual currency, it claims that Congress was merely

       “ratif[y]ing [a] judicial interpretation” and “no substantive change was intended.”

       Gov. Br. 34. But, as the full text from Pub. L. No. 116-283 shows, much more was



       8
         “Hawala is a system designed to transfer funds from point to point outside of
       formal money transmission channels without the physical movement of money.
       Typically, the system is used to transfer funds from one country to another
       through hawala brokers. A broker in one country receives money and then
       communicates with a broker in the country receiving the transfer. The broker in the
       receiving country then pays out an equivalent amount (deducting for fees) to the
       recipient in the appropriate currency. Hawala transactions are discreet. They
       typically involve minimal record-keeping, are not subject to government regulation
       and are premised on trust.” United States v. Singh, 995 F.3d 1069, 1073 (9th Cir.
       2021).
                                                 26
Case: 23-1839   Document: 00118204524       Page: 27     Date Filed: 10/21/2024    Entry ID: 6675771




       intended. It was the sense of Congress that “the mission of FinCEN should be to

       continue to safeguard the financial system from illicit activity, counter money

       launder and the financing of terrorism, and promote national security…”. Pub. L.

       No. 116-283, 134 Stat. 3388, 4552 (2021). Only two paragraphs later did Congress

       explain that “although the use and trading of virtual currencies are legal practices,

       some terrorists and criminals, including transnational criminal organizations, seek

       to exploit vulnerabilities in the global financial system and increasingly rely on

       substitutes for currency, including emerging payment methods (such as virtual

       currencies), to move illicit funds” and therefore that FinCEN should make sure that

       “steps to address emerging methods of such illicit financing are high priorities.” Id.

       FinCEN’s mission may have continued to be countering money laundering, but

       Congress did not direct it to address virtual currency until 2021.

             The government admits as much. It says “Congress in 2021 appears to have

       ratified [a] judicial interpretation,” Gov. Br. 34, that “Congress confirmed the

       agency’s authority over bitcoin-selling businesses in 2021,” Gov. Br. 40, that the

       “Department of Treasury…simply confirmed through a 2013 guidance document,”

       Gov. Br. 41, and that the “guidance aligned with the congressional purpose

       animating the money-laundering and money-transmitting statutes and with

       Congress’s subsequent amendments…”. Gov. Br. 41-42. But as Freeman as

       repeatedly emphasized, this is not how our country makes laws. Courts and


                                                 27
Case: 23-1839   Document: 00118204524        Page: 28     Date Filed: 10/21/2024     Entry ID: 6675771




       agencies do not write them; Congress does. See West Virginia v. EPA, 597 U.S. at

       736-740 (Gorsuch, J., concurring).

             The government fares no better when it comes to its citations to judicial

       decisions. So, for instance, it quotes United States v. Faiella, 39 F. Supp. 34 544,

       546 (S.D.N.Y. 2014) to suggest that virtual currencies were the type of “evolving

       threat that Congress designed the statute to keep pace with.” Gov. Br. 29 (cleaned

       up, quotation omitted). However, a careful reading of that decision shows that

       Judge Rakoff wrote that it was “likely that Congress designed the statute” to that

       effect. Faiella, 39 F. Supp. 3d at 546 (italics added). Not only did that court cite S.

       Rep. 101-460, which, as noted above, never became law, but it was also the court

       guessing at Congressional intent, but as the subsequent legislative history shows, it

       was not until 2021 that Congress decided to act.

             Likewise, two paragraphs later, the government cites to In re Rudler, 576

       F.3d 37, 44 (1st Cir. 2009) for the proposition that “If the statute’s language is

       plain, the sole function of the courts…is to enforce it according to its terms.” Gov.

       Br. 29. Omitted in that ellipsis is crucial language: “If the statute’s language is

       plain, the sole function of the courts – at least where the disposition required by

       the text is not absurd – is to enforce it according to its terms.” Rudler, 576 F.3d at

       44 (italics added, quotation and citation omitted). But it is Freeman’s very point




                                                 28
Case: 23-1839   Document: 00118204524        Page: 29    Date Filed: 10/21/2024    Entry ID: 6675771




       that it would be absurd to imagine that Congress in 1994 or 2001 could predict the

       creation and tremendous growth of blockchain-based virtual currencies.

             The government’s inaccurate quote of Forest Grove Sch. Dist. v. T.A., 557

       U.S. 230, 239 (2009), is especially concerning. In attempting to argue that

       Congress was clarifying preexisting law rather than expanding the scope of the

       statute, the government quotes Forest Grove for the proposition that “Congress is

       presumed to [have] be[en] aware of [that] … judicial interpretation of a statute.”

       Gov. Br. 33. But what the Supreme Court actually said in Forest Grove was that

       “Congress is presumed to be aware of an administrative or judicial interpretation of

       a statute and to adopt that interpretation when it re-enacts a statute without

       change.” Forest Grove School Dist., 557 U.S. at 239 (quoting Lorillard v. Pons,

       434 U.S. 575, 580 (1978)) (italics added). Leaving out those key words – “when it

       reacts a statute without change” – makes all the difference. The result is that the

       government misreads Forest Grove and ignores the Supreme Court authority cited

       by Freeman in his brief, holding that when Congress acts to amend a statute, it is

       presumed to have intended a “real and substantial” change because Congress does

       not engage in “meaningless exercises.” Br. 48-49 (citing Stone v. INS, 514 U.S.

       386, 397 (1995); Rumsfeld v. Forum for Acad. & Institutional Rights, Inc., 547

       U.S. 47, 57-58 (2006)).




                                                 29
Case: 23-1839    Document: 00118204524        Page: 30     Date Filed: 10/21/2024   Entry ID: 6675771




             Congress did not reenact the money-laundering statute without change, as

       Freeman has repeatedly explained, it added the language “value that substitutes for

       currency” for a very specific reason: to capture virtual currencies. App. 94-95, 100-

       101; Br. 28-30, 47-52. The obvious purpose was to bring virtual currency within

       the scope of the statute for the first time.

             Two more citations bear discussion. First, the government cites to United

       States v. Harmon, No. 19-cr-395 (BAH), 2021 U.S. Dist. LEXIS 73504 (D.D.C.

       Apr. 16, 2021) to support the claim that Section 1960’s and Section 5330’s texts

       plainly apply to Freeman’s conduct.” Gov. Br. 32. But Harmon was prosecuted

       under 18 U.S.C. 1960(a) for failure to obtain the appropriate money transmitting

       license from the District of Columbia. Harmon, 2021 U.S. Dist. LEXIS 73504 at

       *1. As that court explained, the “MTA’s [the District of Columbia’s Money

       Transmitters Act, D.C. Code § 26-1023(c)] title, text, and announced purpose

       make clear that the statute governs “money transmitting” broadly in the District of

       Columbia and is sufficiently clear for the ordinary purpose.” Id. at *18 (italics

       added). In short, it has nothing to do with whether Congress captured virtual

       currency in its 2001 definition of a money-transmitting business.

             Second, the government points to United States v. e-Gold, 550 F. Supp. 2d

       82, 86 (D.D.C. 2008), as an example of the “government’s prosecution of

       individuals for issuing digital currency following [the 2001] legislation.” Gov. Br.


                                                      30
Case: 23-1839    Document: 00118204524       Page: 31    Date Filed: 10/21/2024     Entry ID: 6675771




       31. That case stands for the proposition that §5330 requires implementing

       regulations, Br. 32-33, but the case has nothing to do blockchain-based virtual

       currencies. The opinion was written before the block chain was invented; e-Gold

       does not use the blockchain and instead relies on a “digital currency exchanger” to

       convert conventional currency into e-Gold, the latter of which is backed by “actual

       gold bullion and other precious metals.” e-Gold, 550 F. Supp. 2d at 85. The only

       similarity with virtual currency is that both exist on the internet. Moreover, the e-

       Gold indictment explicitly relied on FinCEN’s implementing regulations.

       Indictment at ¶¶ 10-12, 50, 76, United States v. E-Gold No. 05-CR-2497 (D.D.C.

       2007).9

             Finally, the government challenges Freeman’s references to various

       government officials. Gov. Br. 35-37. Regarding the claim that the passage

       Freeman cited “discussed a Department of Treasury regulation, not the statutory

       language,” Gov. Br. 35, Freeman has consistently argued that the statutory

       language cannot be read independent of the implementing regulations. Br. 32-33;

       Add. 22-23. These FinCEN interpretations matter because it was only as a result of

       them that “[p]ersons accepting and transmitting [convertible virtual currency] are

       required (like any money transmitter) to register with FinCEN as an MSB and


       9
        Available at
       https://www.justice.gov/archive/criminal/ceos/pressreleases/downloads/DC%20eg
       old%20indictment.pdf
                                                 31
Case: 23-1839   Document: 00118204524        Page: 32    Date Filed: 10/21/2024   Entry ID: 6675771




       comply” with various recordkeeping requirements. FIN-2019-G001, Application of

       FinCEN’s Regulations to Certain Business Models Involving Virtual Currencies, p.

       12 (Mar. 9, 2019); App. 544-574 (Vlahakis trial testimony); Br. 35 (“Ian Freeman

       is charged with operating an unlicensed money transmitting business, meaning that

       he didn’t register the business with FinCEN,” quoting from the government’s

       opening argument in this case at App. 305).

             Next, the government’s claim that the 2021 bar association speech by the

       FinCEN director did “not discuss the versions of Section 1960 or 5330” is equally

       off base. The bar association speech was at an event entitled the “Financial Crimes

       Enforcement Conference” and Mr. Das clearly spoke about the anti-money

       laundering regime when he described the “first transformation of the anti-money

       laundering/counter-terrorist financing (AML/CFT) regulatory regime writ large.”

       Himamauli Das, Prepared Remarks of FinCEN Acting Director Him

       Das, Delivered Virtually at the American Bankers Association/American Bar

       Association Financial Crimes Enforcement Conference, FinCen (Jan. 13, 2022)

       (italics in original).10 His remarks are worth quoting:

             Until recently, the overarching legal foundation of our regime was an artifact
             of the moment it was most recently updated – in the wake of 9/11 – and like
             most 21-year-old things, it has not entirely kept up with the times. Just as
             earlier incarnations of the Bank Secrecy Act were laser-focused on
             countering drug-related financial flows, the updates in the USA PATRIOT

       10
         https://www.fincen.gov/news/speeches/prepared-remarks-fincen-acting-director-
       him-das-delivered-virtually-american-bankers
                                                 32
Case: 23-1839   Document: 00118204524        Page: 33     Date Filed: 10/21/2024     Entry ID: 6675771




             Act really emphasized disrupting the money flows of groups like al Qaida. It
             never anticipated the challenges of the 2020s: digital assets, strategic
             corruption, an explosion of kleptocrats hiding their wealth in American shell
             companies, or artificial intelligence that could help us recognize these crimes
             and others.

       Id. He further acknowledged that “our legal foundation was in many respects built,

       as the aphorism goes, ‘to fight the last war.’ Or at least that was the case until

       2021, when Congress passed the Anti-Money Laundering Act of 2020.” Id. This

       act “touched off a new, post-post-9/11 era for anti-money laundering , giving

       FinCEN the authority to, quote, ‘streamline, modernize, and update the AML/CFT

       regime of the United States,’ and that, indeed, is what we are doing.” Id. Acting

       Director Das could not have been clearer about how Congress’s new law gave

       FinCEN authority to tackle new challenges under the Bank Secrecy Act, of which,

       Sections 1960 and 5330 are a part.

             Regarding Director Shasky Calvery’s statements to Congress in 2013, she

       did concede a lack of statutory authority when she explained how virtual

       currencies “provides a loophole from AML/CFT regulatory safeguards in most

       countries around the world.” And she explained how “to address growing

       concerns…FinCEN released two regulations which update several definitions and

       provide the needed flexibility to accommodate innovation in the payment system

       space, including virtual currencies, under our pre-existing regulatory framework”

       and then “issued additional guidance to further clarify the compliance obligations


                                                 33
Case: 23-1839   Document: 00118204524      Page: 34    Date Filed: 10/21/2024   Entry ID: 6675771




       for those virtual currency actors covered by our regulations.” The Present and

       Future Impact of Virtual Currency: Joint Hearing before the Subcomm. on Nat’l

       Sec. and Int’l Trade and Fin. and the Subcomm. on Banking, Hous., and Urb. Aff.,

       113th Cong. 210, 5 (2013).11 Calvery could not have clearer that FinCEN used

       regulations to capture virtual currencies under the BSA framework, but as Freeman

       argues, that was a decision that belonged to Congress.




       11
         https://www.congress.gov/113/chrg/CHRG-113shrg87095/CHRG-
       113shrg87095.pdf
                                               34
Case: 23-1839    Document: 00118204524         Page: 35   Date Filed: 10/21/2024   Entry ID: 6675771




                                              CONCLUSION

             For all of the foregoing reasons, Freeman requests that the court grant the

       relief sought in his original brief.

       Date: October 18, 2024

                                                            /s/ Richard Guerriero
                                                            Richard Guerriero
                                                            1st Circuit Bar ID 1164673
                                                            Oliver Bloom
                                                            1st Circuit Bar ID 1211240
                                                            Lothstein Guerriero, PLLC
                                                            39 Central Square, Suite 202
                                                            Keene, NH 03431
                                                            (603) 352-5000
                                                            richard@nhdefender.com
                                                            oliver@nhdefender.com

                                                            Mark L. Sisti
                                                            1st Circuit Bar ID 37832
                                                            Sisti Law Offices
                                                            387 Dover Road
                                                            Chichester, NH 03258
                                                            (603) 224-4220
                                                            info@sistilawoffices.com




                                                  35
Case: 23-1839   Document: 00118204524       Page: 36    Date Filed: 10/21/2024    Entry ID: 6675771




                CERTIFICATE OF COMPLIANCE WITH FRAP RULE 32(a)

             I, Richard Guerriero, hereby certify that the foregoing brief of Appellant

       Ian Freeman complies with the type-volume limitation of FRAP 32(a):

             1. This reply brief contains 6,401 words, not including the parts of the brief

       exempted by FRAP 32(a).

             2. This reply brief has been prepared in a proportionally spaced typeface

       using Microsoft Word for Office 365 (2024) in 14-point Times New Roman.

                                                           /s/ Richard Guerriero
                                                           Richard Guerriero
                                                           1st Circuit Bar ID 1164673
                                                           NH Bar ID 10530

                                 CERTIFICATE OF SERVICE

             I hereby certify that a copy of the foregoing motion was forwarded by

       electronic mail through the ECF system on October 18, 2024, to Assistant United

       States Attorneys David Lieberman, Georgiana MacDonald, and John Kennedy, of

       the United States Attorney’s Office, 55 Pleasant Street, 4th Floor Concord, NH

       03301. A copy of the motion was mailed by U.S. Mail to Appellant, Ian Freeman,

       34755-509, at the FMC Devens, 42 Patton Rd, Devens, MA 01434.

       Filing on October 18, 2024.

                                                           /s/ Richard Guerriero
                                                           Richard Guerriero
                                                           1st Circuit Bar ID 1164673
                                                           NH Bar ID 10530


                                                36
